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14
                              UNITED STATES DISTRICT COURT
15
                            CENTRAL DISTRICT OF CALIFORNIA
16
                           WESTERN DIVISION AT LOS ANGELES
17
     BROIDY CAPITAL MANAGEMENT LLC,
18   ELLIOTT BROIDY, and ROBIN
     ROZENWEIG,                                                 Case No. 2:18-CV-02421-JFW-E
19
                                  Plaintiffs,                   The Honorable John F. Walter
20
           v.
21                                                              DECLARATION OF LEAD
     STATE OF QATAR, STONINGTON                                 TRIAL COUNSEL RE:
22   STRATEGIES LLC, NICOLAS D. MUZIN,
     and DOES 1-10,                                             COMPLIANCE WITH LOCAL
23                                                              RULES GOVERNING
                                  Defendants.                   ELECTRONIC FILINGS
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         DECLARATION OF LEAD TRIAL COUNSEL RE: COMPLIANCE WITH LOCAL RULES GOVERNING ELECTRONIC FILINGS
                                            CASE NO. 2:18-CV-02421-JFW
Case 2:18-cv-02421-JFW-E Document 44 Filed 04/27/18 Page 2 of 2 Page ID #:424



 1
                     DECLARATION OF MATTHEW J. GARDNER
 2
          I, Matthew J. Gardner, hereby declare as follows:
 3
           1.    I am of counsel at the law firm of Wiley Rein LLP. I represent Defendant
 4
     Stonington Strategies LLC and Defendant Nicolas D. Muzin in this action,1 and I
 5
     hereby submit this declaration in accordance with section 3(a) of Judge John F.
 6
     Walter’s Standing Order.
 7
           2.    I am Lead Trial Counsel for Defendants Stonington Strategies LLC and
 8
     Nicolas D. Muzin in this case.
 9
           3.    I am registered as an ECF user in the Central District of California, and
10
     my email address of record is mgardner@wileyrein.com.
11
           4.    I consent to electronic service and receipt of filed documents by electronic
12
     means.
13
          Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the
14
     foregoing is true and correct.
15

16
     Dated: April 27, 2018                          Respectfully submitted,
17
                                                    WILEY REIN LLP
18
                                                    LECLAIRRYAN LLP
19
20                                                  By: /s/
21                                                  Matthew J. Gardner
22                                                  Attorney for Defendants Stonington
                                                    Strategies LLC and Nicolas D. Muzin
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      Counsel’s appearance and filing of this declaration prior to filing a motion to dismiss
     should not be construed as a waiver of any objection to personal jurisdiction or
28   consent to jurisdiction on the part of Defendants Stonington Strategies LLC or
     Nicolas D. Muzin.
                                                1
